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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF MICHIGAN

                                    SOUTHERN DIVISION


                                       _______________

IRMA GOLDEN,

                      Plaintiff,                     Case No. 2:17-cv-13018

vs.                                                  HON. LAURIE J. MICHELSON

UAW-CHRYSLER NATIONAL
TRAINING CENTER,

                      Defendant.


Mary Anne M. Helveston (P37653)                      John M. Lichtenberg (P31770)
HELVESTON & HELVESTON PC                             Catherine A. Brainerd (P70202)
Attorneys for Plaintiff                              RHOADES McKEE PC
65 Cadillac Square, Suite 2915                       Attorneys for Defendant
Detroit, MI 48226-2880                               55 Campau Avenue, N.W., Suite 300
(313) 963-7220                                       Grand Rapids, Michigan 49503
                                                     (616) 235-3500


                               DEFENDANT’S WITNESS LIST

         Defendant, UAW-Chrysler National Training Center, through its attorneys, Rhoades

McKee, PC, and pursuant to this Court’s Case Management Requirements and Scheduling

Order, identify the following witnesses who may testify in this matter:

      1. The following individuals are employees or former employees of Defendant, with an
         address of 2500 E Nine Mile Rd., Warren, MI 48091. They may be contacted through
         legal counsel for Defendants.

            a. Tammy Wilson

            b. Miguel Foster

            c. Tom Rolands




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               d. Al Jones

               e. Decoris Glenn

               f. James Davis

 2.         Norwood Jewell –Mr. Jewell’s contact information is not available at this time.

 3.         Delrico Lloyd –Mr. Lloyd’s work address is 2500 E Nine Mile Rd., Warren, MI 48091,
            and his telephone number is 586-427-4334.

 4.         Helen Scott –Ms. Scott’s work address is 2500 E Nine Mile Rd., Warren, MI 48091, and
            her telephone number is 586-427-4031.

 5.         Michele Adams –Ms. Adams work address is 2500 E Nine Mile Rd., Warren, MI 48091,
            and her telephone number is 586-427-6526.

 6.         Theresa Brown – Ms. Brown currently works at the Sterling Heights Assembly Plant,
            work address is 38111 Van Dyke Ave., Sterling Heights, MI 48312, and her telephone
            number is 313-663-2345.

 7.         Any and all witnesses listed or disclosed by Plaintiff.

 8.         Any and all witnesses known to Plaintiff which are yet undisclosed to Defendant.

 9.         Any and all witnesses identified in response to Interrogatories and/or Requests for
            Production of Documents.

 10.        Any and all witnesses named during depositions.

 11.        Defendant reserves the right to call rebuttal and foundation witnesses as necessary.

 12.        Defendant reserves the right to amend this disclosure as witnesses become known
            throughout the course of discovery.

                                                  Respectfully submitted,

                                                 Rhoades McKee PC
                                                 Attorneys for Defendant
Date: April 13, 2018
                                                 By: /s/ Catherine A. Brainerd
                                                     John M. Lichtenberg (P31770)
                                                     Catherine A. Brainerd (P70202)
                                                 Business Address and Telephone:
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